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UNITED STATES DISTRICT COURT OF CALIFORNIA
CENTRAL DISTRICT OF CALIFORNIA

ADDE ISSAGHOLI,
Plaintiff,

VS.

McLAREN AUTOMOTIVE, INC.,
Defendant.

 

1. Claims and Defenses - L.R. 16-4.1

Case No.: 2:19-cv-07616-MCS
(KKx)

PLAINTIFF, ADDE
ISSAGHOLI’S MEMORANDA
OF CONTENTIONS OF FACT
AND LAW

Trial: 12/1/2020
FPTC? 11/9/2020

(a) 1) Breach of the Implied Warranty of Merchantability under the Song-

Beverly Consumer Warranty Act - California Civil Code Section 1792

2) Breach of Express Warranty Obligations under the Song-Beverly
Consumer Warranty Act - California Civil Code Section 1793.2(d)(2)
(b) 1) Elements of Breach of Implied Warranty Claim - 1) Plaintiff leased

anew motor vehicle, 2) defendants were in the business of selling/leasing new motor

vehicle’s to retail buyers, 3) the new motor vehicle was not of the same quality as

 

PLAINTIFF, ADDE ISSAGHOLI’S MEMORANDA OF CONTENTIONS OF FACT AND LAW
 

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those generally acceptable in the trade and/or was not fit for the ordinary purposes for
which the goods are used, 4) Plaintiff was harmed, and 5) Defendants’ breach of the
implied warranty was a substantial factor in causing Plaintiff's harm. (See CACI -
3210 - Breach of Implied Warranty of Merchantability - Essential Factual Elements)

2) Elements of Express Warranty Claim - 1) Plaintiff leased a new
motor vehicle, 2) Defendants gave Plaintiff a written warranty that promised to repair
defects in materials and/or workmanship, 3) The new motor vehicle was covered by
the express warranty, 4) Plaintiff delivered the new motor vehicle to Defendant or its
authorized repair facilities for repair of the defects, 5) Defendant or its authorized
repair facility failed to repair the vehicle to match the written warranty after a
reasonable number of repair opportunities to do so, 6) Defendant did not promptly
replace or buyback the vehicle. (See CACI - 3201 & VF-3203 - Failure to Promptly
Repurchase or Replace New Motor Vehicle After Reasonable Number of Repair
Opportunities - Essential Factual Elements.)

(c) 1) Breach of the Implied Warranty of Merchantability under the Song-
Beverly Consumer Warranty Act - Civil Code Section 1792 - Evidence - On
September 28, 2018, Plaintiff leased a 2018 McLaren 7208S for a total of $290,204.08
in lease payments. The McLaren came with a bumper-to-bumper express warranty
lasting 3 years with unlimited miles, which covered repairs of “any defects.” Prior
to lease, the vehicle underwent a major repair to address an oil leak. This information
was not communicated to Plaintiff at the time of the lease. Within one year of leasing
the vehicle, and with just 3,324 miles on the odometer, the vehicle began having a
multitude of issues, some of which were quite serious. Significantly, the suspension
system began malfunctioning, the engine was leaking oil (again), and the vehicle had
ano start condition. The vehicle was returned by Plaintiffto McLaren’s dealer a total
of four times between June and November, 2019 and was out of service at least 56
days. On the last service visit, McLaren’s dealer determined that all four of the

vehicle’s suspension accumulators were “blown.” The dealer replaced the four

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accumulators in the vehicle, but after this repair, the vehicle continued to exhibit
problems and warnings. The more serious problems with the vehicle cause the
suspension to fail, disconcerting shaking, stability and noise issues while in operation
and have required the vehicle to be towed back to the dealer on three occasions.

2) Breach of Express Warranty Obligations under the Song-Beverly
Consumer Warranty Act - Civil Code Section 1793.2(d)(2) - Civil Code Section -
Evidence- The same evidence supporting the breach of implied warranty claim also
supports the express warranty claim. Additional evidence includes the fact that
Plaintiffmade McLaren aware of the issues he was having with the vehicle in writing,
McLaren elevated Plaintiff's case to a “Lemon Status: Warning - Workshop Days”
level, yet did not offer to refund Plaintiff's money or replace the vehicle. Thereafter,
the vehicle went on to have two more service visits and another 37 days in the shop.
Yet McLaren still refused to offer to refund or replace the vehicle. Finally, McLaren
has no written policies or procedures for dealing with California lemon law
obligations.

(d) There are no counterclaims. With respect to the twenty-seven affirmative
defenses alleged, it is unclear to Plaintiff as to which, if any, Defendant intends to
pursue. Plaintiff contends that many of the alleged affirmative defenses labeled as
such are not, in fact, legitimate affirmative defenses or are otherwise improper in the
context of lemon law claims. The opposition evidence to each affirmative defense
is set forth in sub-section (f) below.

(e) See Defendant’s Memoranda.

(f) 1) First Affirmative Defense - Failure to State a Claim - Opposition
Evidence- On September 28, 2018, Plaintiffleased a 2018 McLaren 720S for a total
of $290,204.08 in lease payments. The McLaren came with a bumper-to-bumper
express warranty lasting 3 years with unlimited miles, which covered repairs of “any
defects.” Prior to lease, the vehicle underwent a major repair to address an oil leak.

This information was not communicated to Plaintiff at the time of the lease. Within

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one year of leasing the vehicle, and with just 3,324 miles on the odometer, the vehicle
began having a multitude of issues, some of which were quite serious. Significantly,
the suspension system began malfunctioning, the engine was leaking oil (again), and
the vehicle had a no start condition. The vehicle was returned by Plaintiff to
McLaren’s dealer a total of four times between June and November, 2019 and was
out of service at least 56 days. On the last service visit, McLaren’s dealer determined
that all four of the vehicle’s suspension accumulators were “blown.” The dealer
replaced the four accumulators in the vehicle, but after this repair, the vehicle
continued to exhibit problems and warnings. The more serious problems with the
vehicle cause the suspension to fail, disconcerting shaking, stability and noise issues
while in operation and have required the vehicle to be towed back to the dealer on
three occasions. Additional evidence includes the fact that Plaintiff made McLaren
aware of the issues he was having with the vehicle in writing, McLaren elevated
Plaintiff's case to a “Lemon Status: Warning - Workshop Days” level, yet did not
offer to refund Plaintiff's money or replace the vehicle. Thereafter, the vehicle went
on to have two more service visits and another 37 days in the shop. Yet McLaren still
refused to offer to refund or replace the vehicle. Finally, McLaren has no written
policies or procedures for dealing with California lemon law obligations.

2) Second Affirmative Defense - No Breach of Warranty - Opposition
Evidence - On September 28, 2018, Plaintiff leased a 2018 McLaren 720S for a total
of $290,204.08 in lease payments. The McLaren came with a bumper-to-bumper
express warranty lasting 3 years with unlimited miles, which covered repairs of “any
defects.” Prior to lease, the vehicle underwent a major repair to address an oil leak.
This information was not communicated to Plaintiff at the time of the lease. Within
one year of leasing the vehicle, and with just 3,324 miles on the odometer, the vehicle
began having a multitude of issues, some of which were quite serious. Significantly,
the suspension system began malfunctioning, the engine was leaking oil (again), and

the vehicle had a no start condition. The vehicle was returned by Plaintiff to

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McLaren’s dealer a total of four times between June and November, 2019 and was
out of service at least 56 days. On the last service visit, McLaren’s dealer determined
that all four of the vehicle’s suspension accumulators were “blown.” The dealer
replaced the four accumulators in the vehicle, but after this repair, the vehicle
continued to exhibit problems and warnings. The more serious problems with the
vehicle cause the suspension to fail, disconcerting shaking, stability and noise issues
while in operation and have required the vehicle to be towed back to the dealer on
three occasions. Additional evidence includes the fact that Plaintiff made McLaren
aware of the issues he was having with the vehicle in writing, McLaren elevated
Plaintiff's case to a “Lemon Status: Warning - Workshop Days” level, yet did not
offer to refund Plaintiff's money or replace the vehicle. Thereafter, the vehicle went
on to have two more service visits and another 37 days in the shop. Yet McLaren still
refused to offer to refund or replace the vehicle. Finally, McLaren has no written
policies or procedures for dealing with California lemon law obligations.

3) Third Affirmative Defense - Abuse, Misuse, Alteration and Improper

 

Care - Opposition Evidence - Plaintiff did not use the vehicle enough to meet the
recommended maintenance intervals, but he did present the vehicle to McLaren’s
dealer for diagnosis, service and repair of all perceived issues and complaints. No
evidence has surfaced in written discovery or depositions which support any of these
defenses. McLaren’s 30(b)(6) witness testified that he was not aware of any evidence
supporting these defenses.

4) Fourth Affirmative Defense - No Defect in Materials or Workmanship
- Opposition Evidence - McLaren’s service records show that McLaren’s dealer
diagnosed and repaired under warranty most of the issues for which Plaintiff
presented the vehicle. McLaren updated software, repaired a door seal, repaired the
rear main seal, performed a transmission calibration, replaced four blown
accumulators and found multiple fault codes in the vehicle’s computers

corresponding with the complaints and repairs performed. All repairs were performed

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as warranty work, which only covers defects in materials and workmanship.
McLaren’s conduct in performing the repairs under warranty, in addition to the
admissions in the repair orders, demonstrates its understanding that there were defects
in materials and workmanship in the vehicle.

5) Fifth Affirmative Defense - Failure to Maintain Vehicle - Opposition
Evidence - All of the issues reported by the Plaintiff occurred prior to the first
recommended maintenance visit, according to McLaren’s documents. By McLaren’s
own admission - the maintenance schedule - the defects could not have been caused
by a lack of maintenance. Further McLaren admitted in deposition that there was no
evidence of lack of maintenance.

6) Sixth Affirmative Defense - Disclaimer of Incidental and Consequential
Damages - Opposition Evidence - California Civil Code Section 1790.1 prohibits any
waiver by the buyer of the rights afforded by the lemon law, including the right to
recover incidental and consequential damages guaranteed by several sections of the
lemon law. |

7) Seventh Affirmative Defense - Vehicle Fit for Intended Purpose -
Opposition Evidence - On September 28, 2018, Plaintiffleased a 2018 McLaren 7208S
for a total of $290,204.08 in lease payments. The McLaren came with a bumper-to-
bumper express warranty lasting 3 years with unlimited miles, which covered repairs
of “any defects.” Prior to lease, the vehicle underwent a major repair to address an
oil leak. This information was not communicated to Plaintiff at the time of the lease.
Within one year of leasing the vehicle, and with just 3,324 miles on the odometer, the
vehicle began having a multitude of issues, some of which were quite serious.
Significantly, the suspension system began malfunctioning, the engine was leaking
oil (again), and the vehicle had a no start condition. The vehicle was returned by
Plaintiff to McLaren’s dealer a total of four times between June and November, 2019
and was out of service at least 56 days. On the last service visit, McLaren’s dealer

determined that all four of the vehicle’s suspension accumulators were “blown.” The

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dealer replaced the four accumulators in the vehicle, but after this repair, the vehicle
continued to exhibit problems and warnings. The more serious problems with the
vehicle cause the suspension to fail, disconcerting shaking, stability and noise issues
while in operation and have required the vehicle to be towed back to the dealer on
three occasions. Additional evidence includes the fact that Plaintiff made McLaren
aware of the issues he was having with the vehicle in writing, McLaren elevated
Plaintiff's case to a “Lemon Status: Warning - Workshop Days” level, yet did not
offer to refund Plaintiff's money or replace the vehicle. Thereafter, the vehicle went
on to have two more service visits and another 37 days in the shop. Yet McLaren still
refused to offer to refund or replace the vehicle. Finally, McLaren has no written
policies or procedures for dealing with California lemon law obligations.

8) Eighth Affirmative Defense - Duration of Implied Warranty - Opposition
Evidence - The vehicle was leased to Plaintiff on September 28, 2018 and Plaintiff
presented the vehicle to McLaren’s authorized service facilities on four occasions
prior to expiration of the lemon law’s one year duration or the implied warranty.
Moreover, all of McLaren’s repairs performed to the vehicle were inside the one year
duration as well.

9) Ninth Affirmative Defense - No Impairment of Use, Value or Safety -
Opposition Evidence - The vehicle’s suspension system failed, the vehicle would not
start on occasions, the vehicle had to be towed in to McLaren’s dealer for repairs, it
was out of service for approximately 56 days in the first year of the lease, it continues
to exhibit the suspension problems and it continues to register faults within its
computer systems.

10) Tenth Affirmative Defense - Unreasonable Use of Vehicle - Opposition
Evidence - The vehicle was essentially parked, and not used, after McLaren failed to
repair it.

11) Eleventh Affirmative Defense - Failure to Provide Reasonable Opportunity

to Cure - Opposition Evidence - Plaintiff presented the vehicle four times, and for 56

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days, during the first year it was leased. This is in addition to the firth repair
performed by the dealer, where it removed the transmission and repaired the rear
main seal leaking, none of which was disclosed to Plaintiff.

12) Twelfth Affirmative Defense - No Prejudgment Interest - Opposition
Evidence - Plaintiff's damages became certain when McLaren failed to repair the
vehicle on the fifth and final repair attempt. The method of calculation of those
damages is extremely precise, as is set forth by California Civil Code Sections 1791.1
and 1794(a) & (b).

13) Thirteenth Affirmative Defense - Failure to Mitigate - Opposition Evidence
- Plaintiff contacted McLaren directly and asked that it comply with its lemon law
obligations. Had McLaren agreed to do so when asked, additional finance charges,
insurance and other costs associated with keeping the vehicle could have been
avoided.

14) Fourteenth Affirmative Defense - No Agency Relationship - Opposition
Evidence - McLaren entered into a dealer agreement with O’Gara Coach Company
LLC to sell, lease and service (on McLaren’s behalf) the vehicle involved in this
matter.

15) Fifteenth Affirmative Defense - Good Faith Conduct - Opposition Evidence
- McLaren was self-alerted to the fact that the vehicle was potentially a lemon after
the second service visit. It refused to comply with its lemon law obligations at that
time.. After two further service visits, and with the reports of defects becoming more
serious, McLaren still failed to comply with its lemon law obligations. When
Plaintiff's attorneys wrote to McLaren advising them of their lemon law obligations,
McLaren again refused to comply. McLaren has no written policies for dealing with
California lemon law obligations, and McLaren’s representative made no real efforts
to investigate Plaintiffs claim to determine if a lemon law obligation to
refund/replace even existed. McLaren has no qualified third-party dispute resolution

process, which is expressly encouraged by the lemon law, that Plaintiff might

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otherwise have used to informally resolve this matter.

16) Sixteenth Affirmative Defense - Good Faith Conduct - Opposition
Evidence - California Civil Code Section 1790.1 prohibits any waiver by the buyer
of the rights afforded by the lemon law, including the right to recover incidental and
consequential damages guaranteed by several sections of the lemon law. All that
Plaintiff was required to do under the express warranty provisions and under the
lemon law was present the vehicle for repairs to McLaren’s authorized service
facilities, which he did on at least four occasions. No other notice was required by
Plaintiff in order to seek relief under the lemon law. McLaren admitted in deposition
that there is no evidence of abuse, mise, or lack of maintenance in this matter.

17) Seventeenth Affirmative Defense - Estoppel - Opposition Evidence - There
is no legal precedent suggesting that equitable estoppel is a valid defense to a lemon
law claim. Moreover, all that Plaintiff was required to do under the express warranty
provisions and under the lemon law was present the vehicle for repairs to McLaren’s
authorized service facilities, which he did on at least four occasions. No other notice
was required by Plaintiff in order to seek relief under the lemon law. McLaren
admitted in deposition that there is no evidence of abuse, mise, or lack of
maintenance in this matter.

18) Eighteenth Affirmative Defense - Unclean Hands - Opposition Evidence -
There is no legal precedent suggesting that unclean hands is a valid defense to a
lemon law claim. Moreover, all that Plaintiff was required to do under the express
warranty provisions and under the lemon law was present the vehicle for repairs to
McLaren’s authorized service facilities, which he did on at least four occasions. No
other notice was required by Plaintiff in order to seek relief under the lemon law.
McLaren admitted in deposition that there is no evidence of abuse, mise, or lack of
maintenance in this matter.

19) Nineteenth Affirmative Defense - Offsets - Opposition Evidence - There

were 3,324 miles on the vehicle when Plaintiff first returned it for service under

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McLaren’s express warranty.

20) Twentieth Affirmative Defense - Lack of Privity - Opposition Evidence -
California Civil Code Section 1792 creates a manufacturer’s implied warranty such
that privity is not required for Plaintiff to maintain an implied warranty claim against
McLaren. The express warranty Plaintiff received at the time he leased the vehicle is
offered directly by McLaren.

21) Twenty-First Affirmative Defense - Statute of Limitations - Opposition
Evidence - Plaintiff's Lawsuit was filed within four years of the date of the lease for
the subject vehicle. See Krieger v. Nick Alexander Imports, Inc. , 234 Cal.App.3d
205, 214-215 (Four-year statute of limitations provided for under Uniform
Commercial Code applied to Song-Beverly Consumer Warranty Act, rather than
general four-year statute covering actions arising from written agreement.)

22) Twenty-Second Affirmative Defense - Third-Party Actions - Opposition
Evidence - No evidence has been adduced during discovery or otherwise that shows
the problems, fixed (or attempted to be fixed) under McLaren’s express warranty
were caused by third-persons. Further, McLaren made the repairs in accordance with
the terms and conditions of its express warranty, which required only that it cover

defects in materials and workmanship.

23) Twenty-Third Affirmative Defense - Superseding Actions of Others -

Opposition Evidence - No evidence has been adduced during discovery or otherwise
that shows the problems, fixed (or attempted to be fixed) under McLaren’s express
warranty were caused by third-persons. Further, McLaren made the repairs in
accordance with the terms and conditions of its express warranty, which required only
that it cover defects in materials and workmanship.

24) Twenty-Fourth Affirmative Defense - Disclaimer _of Consequential
Damages - Opposition Evidence - California Civil Code Section 1790.1 prohibits any
waiver by the buyer of the rights afforded by the lemon law, including the right to

recover incidental and consequential damages guaranteed by several sections of the

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lemon law.

25) Twenty-Fifth Affirmative Defense - Comparative Negligence - Opposition

Evidence - This is a breach of contract, not a tort action.

26) Twenty-Sixth Affirmative Defense - Civil Code Section 1431.2 -
Opposition Evidence -This is a breach of contract, not a tort action.

27) Twenty-Seventh Affirmative Defense - Disclaimer of Civil Penalties -
Opposition Evidence - Civil Code Section 1794(c) and (e) provide Plaintiff a right
to recover civil penalties in this action. McLaren was self-alerted to the fact that the
vehicle was potentially a lemon after the second service visit. It refused to comply
with its lemon law obligations at that time.. After two further service visits, and with
the reports of defects becoming more serious, McLaren still failed to comply with its
lemon law obligations. When Plaintiff's attorneys wrote to McLaren advising them
of their lemon law obligations, McLaren again refused to comply. McLaren has no
written policies for dealing with California lemon law obligations, and McLaren’s
representative made no real efforts to investigate Plaintiff's claim to determine if a
lemon law obligation to refund/replace even existed. McLaren has no qualified third-
party dispute resolution process, which is expressly encouraged by the lemon law,
that Plaintiff might otherwise have used to informally resolve this matter.

(g) Plaintiff is uncertain as to what is being requested.

(h) Plaintiff does not anticipate any significant evidentiary issues.

(i) The only legal issue possibly will relate to McLaren’s position that lease
payments made by Plaintiff's companies are not recoverable in this action because,
according to McLaren, they are not legally Plaintiff's damages. This legal issue
should be worked out through McLaren’s summary judgment motion set to be heard
on October 26, 2020. The lemon law is fairly straightforward, has been widely
interpreted in the case law and there is a comprehensive set of CACI jury instructions

the Court may use to instruct the jury at trial.

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Il. Bifurcation of Issues - L.R. 16-4.3

Plaintiff is not requesting a bifurcation of issues
I. Jury Trial - L.R. 16-4.4

A timely demand for jury trial was made. The matter is slated for a jury per the
Court’s October 14, 20220 order. All claims and issues are triable to a jury.
IV. Attorneys’ Fees - L.R. 16-4.5

Plaintiff is entitled to recover attorneys’ fees as a prevailing party under
California Civil Code Section 1794(d). Fees are calculated using a lodestar approach,
multiplying the reasonable number of hours incurred times the reasonable hourly rates
of the timekeepers.
V. Abandonment of Issues - L.R. 16-4.6

Plaintiff is not abandoning any of the claims asserted in his complaint.

DATED: October 19, 2020 SAGE LAW GROUP LLP

BY /[ f.

DAVID RUBE
Attorneys for Blafitiff,
ADDE ISSAGHOLI

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CERTIFICATE OF SERVICE
I hereby certify that on October 19, 2020, I electronically filed the
foregoing document using the CM/ECF system which will send notification of
such filing to the e-mail addresses for counsel of record registered in the CM/ECF
system, as denoted on the Electronic Mail Notice List.
By: /s/ Tricia Tanner

Tricia Tanner

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